      Case 1:23-mi-99999-UNA Document 2544 Filed 08/09/23 Page 1 of 12




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

STANDARD INSURANCE                         )
COMPANY                                    )
                                           )
      Plaintiff                            )
                                           )
v.                                         )
                                           )
JOHNNIE KIMBLE ALSTON,                     )
D'ANDREA PENNAMON-                         ) CIVIL ACTION
MUHAMMAD, JASMINE BROWN,                   ) FILE NO. ___________________
DARIUS BARNWELL, ASIA                      )
PENNAMON, AALIYAH                          )
PENNAMON, KEON SMITH, J.N.S.               )
(a minor), J.S. III (a minor), Z.R.P. (a   )
minor), K.E.A. (a minor), M.M.A. (a        )
minor), and J.K.A. (a minor)               )
                                           )
      Defendants                           )

                        COMPLAINT IN INTERPLEADER

      Plaintiff Standard Insurance Company ("Standard") files this Complaint in

Interpleader.

                                      PARTIES

      1.        Standard is a corporation organized under the laws of the State of

Oregon, with its principal place of business in Portland, Oregon. Standard is duly

licensed to do business in the State of Georgia.
      Case 1:23-mi-99999-UNA Document 2544 Filed 08/09/23 Page 2 of 12




      2.     Upon information and belief, Defendant Johnnie Kimble Alston

("Alston") is the surviving spouse of Alicia Alston ("the Decedent"), and is a

citizen of the State of Georgia, currently incarcerated at the Clayton County Jail in

Jonesboro, Georgia.

      3.     Upon information and belief, Defendant D'Andrea Pennamon-

Muhammad is a citizen of the State of Florida, residing in Riverview, Florida.

      4.     Upon information and belief, Defendant Jasmine Brown is a citizen of

the State of Georgia, residing in McDonough, Georgia.

      5.     Upon information and belief, Defendant Darius Barnwell is a citizen

of the State of Florida, residing in Tampa, Florida.

      6.     Upon information and belief, Defendant Asia Pennamon is a citizen of

the State of Virginia, residing in Chesapeake, Virginia.

      7.     Upon information and belief, Defendant Aaliyah Pennamon is a

citizen of the State of Georgia, residing in McDonough, Georgia.

      8.     Upon information and belief, Defendant Keon Smith is a citizen of the

State of Georgia, residing in McDonough, Georgia.

      9.     Upon information and belief, Defendant J.N.S. (a minor) is a citizen

of the State of Georgia, residing in McDonough, Georgia.
                                          2
      Case 1:23-mi-99999-UNA Document 2544 Filed 08/09/23 Page 3 of 12




      10.    Upon information and belief, Defendant J.S. III (a minor) is a citizen

of the State of Georgia, residing in McDonough, Georgia.

      11.    Upon information and belief, Defendant Z.R.P. (a minor) is a citizen

of the State of Georgia, residing in McDonough, Georgia.

      12.    Upon information and belief, Defendant K.E.A. (a minor) is a citizen

of the State of Georgia, residing in McDonough, Georgia.

      13.    Upon information and belief, Defendant M.M.A. (a minor) is a citizen

of the State of Georgia, residing in McDonough, Georgia.

      14.    Upon information and belief, Defendant J.K.A. (a minor) is a citizen

of the State of Georgia, residing in McDonough, Georgia.

                          JURISDICTION AND VENUE

      15.    This Interpleader action is brought pursuant to 28 U.S.C. § 1335

because multiple Defendants of diverse citizenship are claiming entitlement to life

insurance benefits in Standard's possession the value of which exceeds $500.00,

and which Standard will deposit into this Court’s Registry upon issuance of an

order permitting it to do so.

      16.    This Court has original jurisdiction pursuant to 29 U.S.C § 1132(e)(1)

and 28 U.S.C. §1331 because this action arises under the Employee Retirement
                                         3
      Case 1:23-mi-99999-UNA Document 2544 Filed 08/09/23 Page 4 of 12




Income Security Act of 1974, as amended ("ERISA"), 29 U.S.C. § 1001, et seq.

      17.    Venue is proper in this Court pursuant to 29 U.S.C. §1132(e)(2) and

28 U.S.C. §1391(b) because multiple Defendants reside in this district and are

subject to this Court’s personal jurisdiction.

                   CAUSE OF ACTION IN INTERPLEADER

      18.    The Decedent was an employee of Emory Healthcare ("Emory") and

had coverage for Basic Life Insurance, Supplemental Life Insurance, and

Accidental Death and Dismemberment ("AD&D") Insurance under Emory's group

life insurance plan ("the Plan").

      19.    The Plan is an ERISA-regulated employee welfare benefit plan

sponsored and maintained by Emory and funded by group life insurance policy no.

647272-B ("the Group Policy") issued by Standard to Emory as the Group

Policyholder. A copy of the Group Policy is attached as Exhibit A.

      20.    Standard, as a claim fiduciary of the Plan, must administer claims in

accordance with the documents and instruments governing the Plan, including the

Group Policy, and ERISA.

      21.    The Group Policy states the following regarding the designation of,

and payment to, a Beneficiary:

      B.     Naming A Beneficiary
                                           4
      Case 1:23-mi-99999-UNA Document 2544 Filed 08/09/23 Page 5 of 12




      Beneficiary means a person you name to receive death benefits. You may

      name one or more Beneficiaries . . . .

      If you do not name a Beneficiary . . . death benefits payable due to your

      death for [the] Plan will be paid in accordance with D. No Surviving

      Beneficiary, below . . . .

      D.    No Surviving Beneficiary

      If you do not name a Beneficiary, or if you are not survived by one, benefits

      will be paid in equal shares to the first surviving class of the classes below.

      1. Your Spouse . . .

      2. Your children.

      3. Your parents.

      4. Your brothers and sisters.

      5. Your estate.

See Exhibit A at pp. 34-35.

      22.   ERISA defines a beneficiary as "a person designated by a participant,

or by the terms of an employee benefit plan, who is or may become entitled to a

benefit thereunder." 29 U.S.C. § 1002(8).

      23.   ERISA requires a claim fiduciary to pay benefits to a beneficiary "in

accordance with the documents and instruments governing the plan." 29 U.S.C. §
                                          5
      Case 1:23-mi-99999-UNA Document 2544 Filed 08/09/23 Page 6 of 12




1104(a)(1)(D).

      24.   The Decedent died on December 30, 2022. The Decedent's certified

Georgia Death Certificate identified the manner of death as "homicide," the

immediate cause of death as "gunshot wound of the right thigh," and described the

Decedent as being "shot by other(s)." A copy of the Decedent's certified Georgia

Death Certificate is attached as Exhibit B.

      25.   On or about January 4, 2023, Alston was arrested by the Riverdale

Police Department in Jonesboro, Georgia, and charged with several criminal

offenses, including murder of the Decedent. A copy of Alston's "Inmate details" is

attached as Exhibit C.

      26.   On or about March 10, 2023, Alston was indicted by a grand jury for

the charge of murdering the Decedent. A copy of a Magistrate Court Criminal

Case Inquiry showing the indictment is attached as Exhibit D.

      27.   At the time of her death, the Decedent was enrolled in the Plan for a

total of $43,000 in Basic Life Insurance, $160,000 in Supplemental Life Insurance,

and $190,000 in AD&D Insurance (collectively, "the Plan benefits"). The Plan

benefits became payable to the Decedent's beneficiary or beneficiaries upon the

Decedent's death under the terms of the Plan and ERISA.

      28.   The Decedent named all of the Defendants as beneficiaries to receive
                                         6
      Case 1:23-mi-99999-UNA Document 2544 Filed 08/09/23 Page 7 of 12




various percentages of the Plan benefits, as shown here:

                                      BASIC LIFE                  SUPP. LIFE
                                      AMOUNT                      AMOUNT
                           BASIC LIFE PER         SUPP. LIFE      PER         AD&D       TOTAL
                           $43,000 % BENEFICIARY $160,000 %       BENEFICIARY $190,000   $393,000
JOHNNIE KIMBLE ALSTON              20   $8,600.00            16       $25,600 $30,400.00  $64,600
D'ANDRE PENNAMON‐
MUHAMMAD                           5     $2,150.00           7        $11,200   $13,300.00   $26,650
JASMINE BROWN                      5     $2,150.00           7        $11,200   $13,300.00   $26,650
DARIUS BARNWELL                    5     $2,150.00           7        $11,200   $13,300.00   $26,650
ASIA PENNAMON                      5     $2,150.00           7        $11,200   $13,300.00   $26,650
AALIYAH PENNAMON                   5     $2,150.00           7        $11,200   $13,300.00   $26,650
KEON SMITH                         5     $2,150.00           7        $11,200   $13,300.00   $26,650
J.N.S.                             5     $2,150.00           7        $11,200   $13,300.00   $26,650
J.S., III                          5     $2,150.00           7        $11,200   $13,300.00   $26,650
Z.R.P.                            10     $4,300.00           7        $11,200   $13,300.00   $28,800
K.E.A.                            10     $4,300.00           7        $11,200   $13,300.00   $28,800
M.M.A.                            10     $4,300.00           7        $11,200   $13,300.00   $28,800
J.K.A.                            10     $4,300.00           7        $11,200   $13,300.00   $28,800



OUTSTANDING
PAID IN FULL



      29.      Defendants D'Andrea Pennamon-Muhammad, Jasmine Brown, Darius

Barnwell, Asia Pennamon, Aaliyah Pennamon, Keon Smith, J.N.S. (a minor), J.S.

III (a minor), Z.R.P., K.E.A. (a minor), M.M.A. (a minor), and J.K.A. (a minor)

submitted claims to Standard for the Plan benefits. Copies of these Defendants'

Beneficiary Statements are attached as Exhibit E.

      30.      In accordance with the Decedent's beneficiary designations, Standard

paid the appropriate assigned percentages of the Plan benefits to Defendants
                                           7
      Case 1:23-mi-99999-UNA Document 2544 Filed 08/09/23 Page 8 of 12




D'Andrea Pennamon-Muhammad, Jasmine Brown, Darius Barnwell, Asia

Pennamon, Aaliyah Pennamon, Keon Smith, J.N.S. (a minor), J.S. III (a minor),

Z.R.P. (a minor), K.E.A. (a minor), M.M.A. (a minor), and J.K.A. (a minor).

Copies of letters showing Standard's payment of the Plan benefits to these

Defendants and/or their guardians are attached as Exhibit F.

      31.   Georgia's "slayer statute," O.C.G.A. § 33-25-13, provides as follows:

      No person who commits murder or voluntary manslaughter or who conspires
      with another to commit murder shall receive any benefits from any insurance
      policy on the life of the deceased, even though the person so killing or
      conspiring be named beneficiary in the insurance policy. A plea of guilty or
      a judicial finding of guilt not reversed or otherwise set aside as to any of
      such crimes shall be prima-facie evidence of guilt in determining rights
      under this Code section. All right, interest, estate, and proceeds in such an
      insurance policy shall go to the other heirs of the deceased who may be
      entitled thereto by the laws of descent and distribution of this state, unless
      secondary beneficiaries be named in the policy, in which event such
      secondary beneficiaries shall take.


      32.   By letters dated April 14, 2023, May 5, 2023, June 2, 2023, and July

3, 2023, Standard wrote to Alston at the Clayton County Jail, informing him of

Standard's understanding that Alston had been charged in the death of the

Decedent, and that under Georgia law he may be disqualified as a beneficiary of

the Plan benefits. Standard offered Alston the opportunity to disclaim his portion

of the Plan Benefits. To date, Alston has not responded to Standard's letters.


                                         8
      Case 1:23-mi-99999-UNA Document 2544 Filed 08/09/23 Page 9 of 12




Copies of the April 14, 2023, May 5, 2023, June 2, 2023, and July 3, 2023 letters,

and their enclosures, are attached as Exhibit G.

       33.    Due to uncertain issues of fact and law, and the adverse and

conflicting claims of Alston and the other Defendants, Standard is subject to

multiple vexation, litigation, and/or liability with respect to the remaining unpaid

portion of the Plan benefits. The amount of unpaid Plan benefits at issue is Sixty

Four Thousand Six Hundred Dollars and 00/100 ($64,600.00) – see Paragraph 28

above.

       34.    Specifically, because Alston has been charged with murdering the

Decedent his claim to the remaining portion of the Plan benefits may be barred by

the slayer statute.

       35.    If Alston's claim is barred, under the terms of the Plan, the remaining

unpaid Plan benefits would be payable to D'Andrea Pennamon-Muhammad,

Jasmine Brown, Darius Barnwell, Asia Pennamon, Aaliyah Pennamon, Keon

Smith, J.N.S. (a minor), J.S. III (a minor), Z.R.P. (a minor), K.E.A. (a minor),

M.M.A. (a minor), and J.K.A. (a minor), the Decedent's twelve surviving children,

in equal shares.

       36.    As a disinterested stakeholder, Standard has no interest in the Plan

benefits aside from payment thereof in accordance with the terms of the Group
                                          9
     Case 1:23-mi-99999-UNA Document 2544 Filed 08/09/23 Page 10 of 12




Policy, the Plan, and ERISA, and recovery of its reasonable attorney's fees, and

respectfully requests that this Court determine to whom the remaining Plan

benefits should be paid.

         37.   Standard is ready, willing and able to pay the remaining Plan benefits,

plus applicable interest, in accordance with the terms of the Plan, in such amounts

and to whomever the Court shall designate.

         38.   Standard will deposit into the Registry of the Court the remaining

Plan benefits due and owing under the Plan, for disposition in accordance with the

Judgment of the Court.

         WHEREFORE Plaintiff-in-Interpleader Standard Life Insurance Company

prays:

         (a) That its Complaint-in-Interpleader be allowed;

         (b) That Alston, D'Andrea Pennamon-Muhammad, Jasmine Brown, Darius

Barnwell, Asia Pennamon, Aaliyah Pennamon, Keon Smith, J.N.S. (a minor), J.S.

III (a minor), Z.R.P. (a minor), K.E.A. (a minor), M.M.A. (a minor), and J.K.A. (a

minor) be directed and required to interplead in this action and to set forth in this

case any claims which they may have or may wish to assert to the Plan benefits;

         (c) That Alston, D'Andrea Pennamon-Muhammad, Jasmine Brown, Darius

Barnwell, Asia Pennamon, Aaliyah Pennamon, Keon Smith, J.N.S. (a minor), J.S.
                                           10
      Case 1:23-mi-99999-UNA Document 2544 Filed 08/09/23 Page 11 of 12




III (a minor), Z.R.P. (a minor), K.E.A. (a minor), M.M.A. (a minor), and J.K.A. (a

minor) be temporarily and permanently restrained from instituting or prosecuting

any claim or action against Standard in any State or United States court pertaining

to the Plan benefits, except by way of interpleader in this action;

       (d) That Standard be authorized to deposit into the Registry of this Court the

Plan benefits, and that an order be entered discharging Standard and the Plan from

any further liability for the Plan benefits;

       (e) That this Court determine all actual and potential claims to the Plan

benefits and give direction as to the proper recipient of the Plan benefits;

       (f) That Standard be dismissed from this action with prejudice;

       (g) That Standard be awarded its reasonable attorney's fees; and

       (h) That Standard have such other and further relied to which it may be

entitled.

       This 9th day of August, 2023.



                                  WOMBLE BOND DICKINSON (US) LLP


                                  By:    /s/ Aaron E. Pohlmann
                                         Aaron E. Pohlmann
                                         Georgia Bar No. 582685
                                         Brendan H. White
                                           11
     Case 1:23-mi-99999-UNA Document 2544 Filed 08/09/23 Page 12 of 12




                                   Georgia Bar No. 458315

271 17th Street N.W.
Suite 2400
Atlanta, Georgia 30363
Telephone: (404) 872-7000
Facsimile: (404) 888-7490
Email: Aaron.Pohlmann@wbd-us.com
       Brendan.White@wbd-us.com

Attorneys for Standard Insurance Company




                                     12
